Case 1:22-cv-00071-JMB-RSK ECF No. 27, PageID.656 Filed 03/07/22 Page 1 of 1




                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION


 BARRY MEHLER,

        Plaintiff,
                                                           Case No. 1:22-cv-71
 v.
                                                           HON. JANE M. BECKERING
 FERRIS STATE UNIVERSITY, et al.,

        Defendants.
 ____________________________/


                                           ORDER

       In accordance with the Bench Opinion issued by the Court on March 7, 2022:

       IT IS HEREBY ORDERED that Plaintiff’s Motion for a Preliminary Injunction (ECF

No. 3) is DENIED for the reasons stated on the record.


Dated: March 7, 2022                                       /s/ Jane M. Beckering
                                                         JANE M. BECKERING
                                                         United States District Judge
